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  11
  12                        UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
  14
  15 EPIC GAMES, INC., a Maryland               Case No. 2:24-CV-10835-DDP-JC
     corporation,
  16                                            PLAINTIFF EPIC GAMES, INC.’S
                  Plaintiff,                    MEMORANDUM OF POINTS AND
  17                                            AUTHORITIES IN SUPPORT OF
           v.                                   MOTION FOR DEFAULT
  18                                            JUDGMENT AGAINST
     SEBASTIAN ARAUJO, an individual,           DEFENDANT SEBASTIAN
  19                                            ARAUJO
                  Defendant.
  20                                            Hearing:
  21                                            Date: June 2, 2025
                                                Time: 10:00 a.m.
  22                                            Place: Courtroom 9C
  23                                                   350 West 1st Street
                                                       Los Angeles, CA. 90012
  24
  25                                            Honorable Dean D. Pregerson

  26
  27
  28

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   1                                  I.     INTRODUCTION
   2            Defendant Sebastian Araujo (“Defendant”) is a cheater who, despite being
   3 banned by plaintiff Epic Games, Inc. (“Epic”), continued to use cheat software in
   4 order to win money in Fortnite tournaments. Epic is the operator and owner of all
   5 rights, title, and interest in Fortnite, a multiplayer online experience where
   6 approximately 500 million registered players interact in an online world. Among
   7 the many games and modes available to players in Fortnite, “Battle Royale” is one
   8 of the most popular, in which up to 100 individuals compete against each other
   9 until only one player or team remains standing at the end. Fortnite players can also
  10 participate in highly competitive tournaments that award cash prizes to players who
  11 have worked hard to develop their playing skills.
  12            Rather than compete on a level playing field, Defendant used cheat software
  13 designed to evade Epic’s anti-cheat technical measures in order to win money in
  14 these tournaments. The cheat software allows Defendant to do things in Fortnite
  15 that non-cheating players cannot, including seeing other players through walls and
  16 to automatically aim at other players. His cheating gave him an enormous
  17 advantage over other players, allowing him to win thousands of dollars in prize
  18 money. When Epic caught him cheating and banned him from competing in
  19 tournaments, Defendant used other accounts and even created new Epic Games
  20 accounts to hide his identity and continued cheating in Fortnite tournaments. Epic
  21 brought this action to bring an end to his cheating. Defendant was served on
  22 February 10, 2025. His response to Epic’s complaint was due no later than March
  23 3, 2025, and Defendant failed to answer or otherwise respond.
  24            Epic respectfully requests that the Court enter a default judgment holding
  25 Defendant responsible for his cheating, including an award of $267,800 in
  26 monetary damages, $8,956 in attorneys’ fees, and a permanent injunction barring
  27 Defendant from accessing or using Fortnite or assisting others in infringing Epic’s
  28 copyrights or circumventing Epic’s technological measures.
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   1                                   II.    BACKGROUND
   2            A.    Epic and Fortnite
   3            Founded in 1991, Epic is a leader in the interactive entertainment and 3D
   4 engine technology fields and the owner and operator of Fortnite, a vibrant
   5 ecosystem full of a variety of social entertainment experiences with approximately
   6 500 million registered players. Doc. No. 1 (“Compl.”) ¶ 15. Epic is the author and
   7 owner of all rights and title to the copyrights in Fortnite, including the computer
   8 software and audiovisual works that make up Fortnite, and has obtained copyright
   9 registrations for these works. Id. ¶¶ 23–24; Doc. 1-1 (copyright registration
  10 certificates). Fortnite includes the popular “Battle Royale” game that drops a
  11 maximum of 100 players into a large map where players battle each other until only
  12 one player or team remains. Compl. ¶ 17. Success in “Battle Royale” is often
  13 determined by a player’s skill level, including their ability to use their controller to
  14 maneuver their character, maintain awareness of their surroundings, and aim at their
  15 target quickly and accurately. Id. ¶ 18. Epic offers Fortnite tournaments, including
  16 competitive tournaments with cash prizes, that allow players to test their skills. Id.
  17 ¶ 20.
  18            Epic invests substantial effort in the design and maintenance of Fortnite to
  19 ensure a fair playing field for all players, and expressly prohibits the use of cheat
  20 software in its agreements with Fortnite players, including but not limited to its
  21 Fortnite End User License Agreement (“EULA”) and its agreements with all
  22 participants in each of its Fortnite tournaments (the “Tournament Agreements”).
  23 Id. ¶¶ 19, 25–32. For example, under the Fortnite EULA, a player may not “create,
  24 develop, distribute, or use any unauthorized software programs to gain advantage in
  25 any online or other game modes,” nor may a player “behave in a manner which is
  26 detrimental to the enjoyment of [Fortnite] by other users as intended by Epic, in
  27 Epic’s sole judgment, including but not limited to . . . running or using methods
  28 which are not authorized by Epic and which interfere with the outcome and/or the
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   1 course of [Fortnite], (including Cheats . . . ) by giving you and/or another user an
   2 advantage over other users who do not use such methods . . . .” Id. ¶ 29; Doc. 1-1
   3 at 32. Similarly, the Tournament Agreements prohibit “[u]sing any kind of
   4 cheating device, program, or similar cheating method to gain a competitive
   5 advantage.” Compl. ¶ 32; see, e.g., Doc. 1-1 at 63. Anyone who plays Fortnite
   6 must agree to the Fortnite EULA, and anyone who participates in a Fortnite
   7 tournament must agree to abide by the corresponding Tournament Agreement,
   8 including Defendant. Compl. ¶¶ 27, 32, 37, 60, 61.
   9            Epic also regularly implements and updates technological measures designed
  10 to prevent individuals from using cheat software in Fortnite and bans players that
  11 use cheat software in Fortnite. Id. ¶¶ 22, 33–36. Any player that downloads
  12 Fortnite also downloads Epic’s cheat detection software, which restricts a user’s
  13 access to Fortnite. Id. ¶ 34. When the cheat detection software detects cheat
  14 software on a player’s computer, the player is prevented from launching Fortnite,
  15 viewing the Fortnite audiovisual displays, or otherwise accessing or using Fortnite.
  16 Id. ¶¶ 34–35. Epic also uses hardware ID bans against players previously identified
  17 as using cheat software in Fortnite, which prevents that user from using their
  18 hardware (i.e., computer) to launch or use Fortnite. Id. ¶ 36.
  19            B.    Defendant’s Unlawful Acts
  20            Defendant repeatedly used cheat software while playing in over a dozen
  21 different Fortnite tournaments between June and October 2024 in order to illicitly
  22 earn thousands of dollars in prize money. Epic first detected Defendant using a
  23 “direct memory access” (“DMA”) device on his computer while playing Fortnite
  24 on June 5, 2024. Id. ¶ 38. A DMA cheat, which is used in conjunction with a
  25 DMA device, is specifically designed and used to avoid Epic’s anti-cheat
  26 technological protection measures. Id. ¶ 40. While most cheats need to be loaded
  27 onto the same computer on which the target game is running to work, a DMA cheat
  28 uses two computers—one that runs the game (here, Fortnite), and another that runs
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  1 the cheat. Id. ¶ 41–42. The DMA device connects to both computers and serves as
  2 the middleman for the two: it reads the Fortnite memory running on the game
  3 computer and transmits a copy to the cheat computer. Id. ¶ 42. The primary
  4 purpose of this dual computer setup is to avoid detection by Epic’s anti-cheat
  5 measures, which can check only the computer on which Fortnite is loaded for cheat
  6 software, not the other computer. Id. ¶ 43.
  7            Defendant obtained multiple unfair competitive advantages by using the
  8 DMA cheat software in Fortnite tournaments. One such advantage is called extra-
  9 sensory perception (“ESP”), which allows cheating players to see the location of
 10 other players and items through solid objects (e.g., walls) that are ordinarily hidden
 11 from non-cheating players. Id. ¶¶ 6, 44. Another type of cheat used to gain an
 12 unfair advantage is “aimbot,” where the cheat software takes control of the cheating
 13 player’s keyboard and mouse inputs and, using information gleaned from Fortnite’s
 14 memory, can automatically aim at other players with perfect accuracy. Id. ¶ 45.
 15 Players that do not use cheat software have to develop and use aiming skills to hit
 16 their targets with their mouse and keyboard. Id. DMA cheat software is able to
 17 access this ordinarily hidden information (e.g., player and item location through
 18 solid walls) because the cheat software contains copied portions of Epic’s
 19 copyright-protected Fortnite software code. Id. ¶ 46.
 20            After Epic first detected Defendant’s use of a DMA device while playing in a
 21 Fortnite tournament, it banned Defendant’s account from playing Fortnite on
 22 June 6, 2024. Id. ¶ 38. But Defendant was undeterred. Defendant then started
 23 creating alternative Fortnite accounts to continue using a DMA device and cheats
 24 in Fortnite tournaments. Id. ¶ 39. Attempting to disguise his activities, he used
 25 fake names and other personal information in connection with these alternative
 26 accounts and used hardware ID spoofers to alter the appearance of the serial
 27 numbers on his devices, avoiding Epic’s hardware ID bans against his computer.
 28 Id. ¶ 47. Using his fake accounts, and despite previously being banned for
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  1 cheating, Epic is aware of at least 18 different Fortnite tournaments Defendant
  2 entered into between June 10 and October 6, 2024, each time agreeing to be bound
  3 by the applicable Tournament Agreements. Id. ¶ 61. However, because Defendant
  4 defaulted, he deprived Epic of the ability to discover the extent of his cheating, and
  5 given Defendant’s use of fake accounts, the true scope of his cheating is not known.
  6            C.    Defendant Harmed Epic
  7            As a result of Defendant’s cheating in competitive Fortnite tournaments, and
  8 his continuing to do so through fraud, Epic and the Fortnite community have
  9 suffered substantial harm. As a result of Defendant’s use of a DMA device and
 10 cheats in Fortnite, Epic is aware of at least $6,850 in tournament prize money that
 11 has been paid out to Defendant. Brews Decl. ¶ 8. The total winnings actually paid
 12 out to Defendant is likely larger, given his frequent circumvention of Epic’s
 13 detection measures, and cannot be known by Epic because Defendant failed to
 14 appear in this action. Epic also expended significant resources investigating and
 15 combatting Defendant’s cheating and fraud, including time spent investigating
 16 cheating reports from other Fortnite players that encountered Defendant in
 17 tournaments and subsequently analyzing Defendant’s gameplay telemetry and
 18 history, time spent identifying other possible fake accounts created by Defendant
 19 using false names and other personal information, confirming Defendant’s identity,
 20 and implementing bans against those accounts. Id. ¶¶ 5–11. Moreover,
 21 Defendant’s cheating has harmed Epic’s goodwill with the Fortnite community and
 22 undermined the integrity of Fortnite tournaments causing non-cheating players to
 23 stop playing Fortnite. Id. ¶ 12.
 24            D.    Procedural History
 25            Epic filed its complaint against Defendant on December 16, 2024. Doc.
 26 No. 1. Epic made multiple attempts to effect service, and on January 7, 2025,
 27 Epic’s counsel received a phone call from an attorney who said he was representing
 28 Defendant in this matter. Dugdale Decl. ¶ 2. On January 9, 2025, Epic’s counsel
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  1 emailed Defendant’s counsel a copy of the Summons, Complaint, and Notice and
  2 Acknowledgement of Receipt of Summons and Complaint, and mailed a copy of
  3 the same to Defendant’s counsel’s business address. Id. On February 10, 2025,
  4 Defendant’s counsel returned a signed copy of the Notice and Acknowledgement of
  5 Receipt of Summons and Complaint, which was then filed the same day. Doc.
  6 No. 14. On February 12, 2025, Epic’s counsel sent Defendant’s counsel a copy of
  7 the e-filing notification for the Notice and Acknowledgement of Receipt of
  8 Summons and Complaint, which indicated that the response deadline was March 3,
  9 2025. Dugdale Decl. ¶ 5. After Defendant failed to respond to the Complaint by
 10 the March 3 deadline, on March 4, 2025 Epic’s counsel emailed Defendant’s
 11 counsel regarding the missed deadline, and Defendant’s counsel replied that
 12 Defendant’s response would be filed on March 5, 2025. Id. ¶ 6. Having received
 13 no response to the Complaint, Epic filed a request for entry of default to the clerk
 14 on March 7, 2025. Doc. No. 15. The clerk entered default against Defendant the
 15 same day. Doc. No. 16. On March 10, 2025, Epic’s counsel emailed a copy of the
 16 clerk’s entry of default to Defendant’s counsel. Dugdale Decl. ¶ 7. On March 19,
 17 2025, Defendant’s counsel contacted Epic’s counsel to inquire whether Epic would
 18 stipulate to set aside the default. Id. Epic’s counsel responded, leaving a voicemail
 19 on March 21 that given the lack of any defenses, Epic would not agree. Id. Epic’s
 20 counsel confirmed the same over email on March 24. Id., Ex. 1. As of the date of
 21 this filing, counsel has not contacted Epic’s counsel or filed a motion to set aside
 22 the default. Id. ¶ 8.
 23                                   III.   ARGUMENT
 24            The Clerk having entered default, Epic now moves for default judgment
 25 pursuant to Fed. R. Civ. P. 55(b)(2). To obtain default judgment in this District, a
 26 plaintiff must satisfy the procedural requirements of Local Rule 55-1 and show that
 27 default judgment is warranted by the Court’s weighing of the Ninth Circuit’s
 28 factors under Eitel v. McCool, 782 F.2d 1470, 1471–72 (9th Cir. 1986). Here, Epic
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  1 has met both the procedural and substantive requirements to obtain default
  2 judgment, and requests a monetary judgment of $267,800 as well as an award of
  3 attorneys’ fees of $8,956 and a permanent injunction against Defendant.
  4            A.    Epic Has Satisfied the Local Rule 55-1 Procedural Requirements
  5            Under Local Rule 55-1, an application for default judgment under Fed. R.
  6 Civ. P. 55(b)(2) must include a declaration stating (a) when and against what party
  7 the default was entered, (b) the identification of the pleading to which default was
  8 entered, (c) whether the defaulting party is an infant or incompetent person, (d) that
  9 the Servicemembers Civil Relief Act (50 U.S.C. App. § 521) does not apply, and
 10 (e) that notice has been served on the defaulting party, if required by Fed. R. Civ. P.
 11 55(b)(2).
 12            Default was entered on March 7, 2025 against Defendant Sebastian Araujo
 13 with respect to the Complaint (Doc. No. 1) in this action. Dugdale Decl. ¶ 9.
 14 Defendant is not an infant or incompetent person, nor does the Servicemembers
 15 Civil Relief Act apply to Defendant. Id. Neither Defendant nor his counsel has
 16 filed an appearance in this action, and so notice of this application need not be
 17 served on Defendant.1 Id. However, courtesy copies have been sent to counsel. Id.
 18            B.    The Eitel Factors Weigh In Favor of Default Judgment
 19            Courts in the Ninth Circuit consider the following factors when deciding
 20 whether to grant default judgment:
 21            (1) the possibility of prejudice to the plaintiff, (2) the merits of
 22            plaintiff’s substantive claim, (3) the sufficiency of the complaint, (4) the
               sum of money at stake in the action, (5) the possibility of a dispute
 23            concerning material facts, (6) whether the default was due to excusable
 24            neglect, and (7) the strong policy underlying the Federal Rules of Civil
               Procedure favoring decisions on the merits.
 25
 26 Eitel, 782 F.2d at 1471–72; E.I. Du Pont de Nemours and Co. v. Drabek, No. CV
 27
               1
            Even so, Defendant’s counsel was notified of Epic’s intent to file a motion
 28 for default judgment on March 24, 2025. Dugdale Decl. ¶ 7, Ex. 1. Defendant’s
    counsel did not respond. Id. ¶ 8.
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  1 12-10574 DDP (AJWx), 2013 WL 4033630, at *3 (C.D. Cal. May 3, 2013)
  2 (applying the Eitel factors). “In applying this discretionary standard, default
  3 judgments are more often granted than denied.” PepsiCo, Inc. v. Triunfo-Mex, Inc.,
  4 189 F.R.D. 431, 432 (C.D. Cal. 1999). Here, each of the Eitel factors weigh
  5 strongly in favor of default judgment.
  6                  1.    Epic Will Be Prejudiced
  7            Epic would suffer prejudice without the default judgment. Because
  8 Defendant has not appeared in this case, default judgment is the only means Epic
  9 has to recover for Defendant’s wrongful acts. Blizzard Entm’t, Inc. v. Bossland
 10 GmbH, No. SA CV 16-1236-DOC (KESx), 2017 WL 780660, at *3 (C.D. Cal.
 11 Mar. 31, 2017). Additionally, without default judgment, “Defendant will have
 12 avoided liability simply by not responding to [Epic’s] action.” Sony Interactive
 13 Entm’t LLC v. Scales, No. EDCV 18-2141 JGB (KKx), 2019 WL 13065920, at *3
 14 (C.D. Cal. Mar. 18, 2019). The first Eitel factor therefore weighs in favor of default
 15 judgment.
 16                  2.    Epic Has Sufficiently Pled Meritorious Claims
 17            Courts often consider the second and third Eitel factors together, which look
 18 to the substantive merit of the plaintiff’s complaint and the sufficiency of its
 19 pleadings. PepsiCo, Inc. v. Cal. Sec. Cans, 238 F. Supp. 2d 1172, 1175 (C.D. Cal.
 20 2002); Landstar Ranger, Inc. v. Path Enters., Inc., 725 F. Supp. 2d 916, 920 (C.D.
 21 Cal. 2010). After a clerk’s entry of default, the court takes all well-pleaded factual
 22 allegations in the complaint regarding liability as true. TeleVideo Sys, Inc. v.
 23 Heidenthal, 826 F.2d 915, 917–18 (9th Cir. 1987); E.I. Du Pont de Nemours and
 24 Co., 2013 WL 4033630, at *5. “To warrant default judgment, the allegations in the
 25 [c]omplaint must be sufficient to state a claim upon which [p]laintiff can recover.”
 26 E.I. Du Pont de Nemours and Co., 2013 WL 4033630, at *4 (citing Danning v.
 27 Lavine, 572 F.2d 1386, 1388 (9th Cir. 1978)). Epic has sufficiently pled each of its
 28 four claims against Defendant.
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  1                         a.    Circumvention of Technological Measures
  2            To plead a claim under the anti-circumvention provision of the DMCA, a
  3 plaintiff must plead that (1) it employs technological measures that effectively
  4 control access to a work protected by copyright, and (2) defendant circumvented
  5 those measures. 17 U.S.C. § 1201(a)(1)(A); Disney Enters., Inc. v. VidAngel, Inc.,
  6 371 F. Supp. 3d 708, 714 (C.D. Cal. 2019).
  7            Epic has obtained federal copyright registrations for Fortnite as both
  8 software code and audiovisual works. Compl. ¶¶ 23–24; Doc. No. 1-1 p. 1
  9 (copyright registration certificates). These certificates of registration are prima
 10 facie evidence of copyright validity. Sony Interactive Entm’t, 2019 WL 13065920,
 11 at *4. Epic’s anti-cheat software and hardware ID bans are both technological
 12 measures that effectively control access to Fortnite. Compl. ¶¶ 34–36. A player
 13 detected by Epic’s anti-cheat software is not permitted to view the audiovisual
 14 displays of, launch, or otherwise use or access Fortnite. Id. ¶ 34. Similarly, a
 15 player subject to a hardware ID ban is prevented from launching, using, or
 16 accessing Fortnite. Id. ¶ 36.
 17            Defendant circumvented both of these technological measures. First,
 18 Defendant circumvented Epic’s anti-cheat measures by using cheat software and
 19 additional hardware and devices which allows Defendant to use cheat software for
 20 Fortnite on a separate computer from the computer running Fortnite, thereby
 21 avoiding detection by Epic’s anti-cheat. Id. ¶¶ 42–43, 52. Second, when Epic
 22 detected Defendant’s cheating, it implemented hardware ID bans on Defendant’s
 23 devices used to play Fortnite, but Defendant circumvented Epic’s hardware ID ban
 24 by using hardware ID spoofers to alter the appearance of the serial numbers on his
 25 devices, which Epic uses to enforce its hardware ID bans. Id. ¶¶ 47–49, 52.
 26 Accordingly, Epic has alleged facts sufficient to state a claim under the DMCA
 27 anti-circumvention provisions.
 28
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  1                           b.     Breach of Contract
  2            “A claim for breach of contract is comprised of a contract, plaintiff’s
  3 performance or excuse for nonperformance, defendant’s breach, and the resulting
  4 damages to plaintiff.” Yelp, Inc. v. Catron, 7 F. Supp. 3d 1082, 1099 (N.D. Cal.
  5 2014); see also Facebook, Inc. v. Sahinturk, No. 20-cv-08153-JSC, 2022 WL
  6 1304471, at *8 (N.D. Cal. May 2, 2022).
  7            Both the Fortnite EULA and the Tournament Agreements constitute
  8 contracts between Defendant and Epic. When Defendant downloaded and played
  9 Fortnite, he agreed to be bound by the Fortnite EULA. Compl. ¶¶ 26–27, 37, 60;
 10 Doc. No. 1-1 p. 31 (Fortnite EULA). Defendant also participated in at least
 11 18 Fortnite tournaments while using DMA cheat software, and accepted and agreed
 12 to be bound by the applicable Tournament Agreements. Compl. ¶¶ 37, 61; Doc.
 13 No. 1-1 p. 52 (applicable Tournament Agreements). Epic performed its obligations
 14 under both the Fortnite EULA and Tournament Agreements, permitting Defendant
 15 to access Fortnite and participate in the Fortnite tournaments. Compl. ¶¶ 37–39,
 16 58–61, 63. The Fortnite EULA and Tournament Agreements prohibit, among other
 17 things:
 18                   “remov[ing], disable[ing], circumvent[ing], or modify[ing]
 19                     any…security technology included in [Fortnite];”
 20                   “us[ing] any unauthorized software programs to gain advantage in any
 21                     online or other game modes;”
 22                   “behav[ing] in a manner which is detrimental to the enjoyment of
 23                     [Fortnite] by other users as intended by Epic, in Epic’s sole judgment,
 24                     including but not limited to…running or using methods which are not
 25                     authorized by Epic and which interfere with the outcome and/or course
 26                     of [Fortnite], (including Cheats, bots, scripts, or mods not expressly
 27                     authorized by Epic) by giving you and/or another user an advantage
 28                     over other users who do not use such methods;” and
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  1                   “[u]sing any kind of cheating device, program, or similar cheating
  2                     method to gain a competitive advantage.”
  3 Compl. ¶¶ 29, 32; Doc. No. 1-1 p. 32, 63.
  4            Defendant’s use of DMA cheat software in Fortnite tournaments breached
  5 each of these terms. Most importantly, the DMA cheat software that Defendant
  6 used gave him a significant advantage in Fortnite’s online tournaments against non-
  7 cheating players, allowing Defendant to see information ordinarily hidden from
  8 non-cheating players, like the location of other players and items (so-called “extra
  9 sensory perception” or “ESP”) and the ability to automatically aim at other players
 10 with perfect accuracy and without requiring any input from the cheating player
 11 (“aimbot”). Compl. ¶¶ 44–45. The DMA device and cheat software that Defendant
 12 used also circumvents Epic’s security measures for Fortnite, and the hardware ID
 13 spoofers that he employed also circumvented different security measures.
 14 Compl. ¶¶ 43, 47, 52.
 15            Defendant’s conduct harmed Epic and the Fortnite community in significant
 16 ways, including by fraudulently winning at least $6,850 in competitive Fortnite
 17 tournaments that he should not have earned, causing Epic to incur costs
 18 investigating and combatting his cheating, and incalculable harm to Epic’s goodwill
 19 and reputation for providing a fair and level playing field in its Fortnite
 20 tournaments, driving players away from Fortnite and causing those players to no
 21 longer purchase in-game passes, cosmetics, and related items. Compl. ¶¶ 65–71;
 22 Brews Decl. ¶¶ 5–12.
 23            Default judgment should therefore be entered against Defendant for breach of
 24 contract.
 25                           c.    Copyright Infringement
 26            A plaintiff must plead two elements to state a claim for copyright
 27 infringement: (1) ownership of a valid copyright; and (2) copying of constituent
 28 elements of the work that are original. Disney Enters., Inc. v. VidAngel, Inc.,
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  1 869 F.3d 848, 856 (9th Cir. 2017); Blizzard Entm’t, 2017 WL 7806600, at *4
  2 (granting motion for default judgment against video game hack developer).
  3            As discussed above, the first element is satisfied by Epic’s copyright
  4 registrations for the software code of Fortnite. Compl. ¶¶ 23–24; Doc. No. 1-1 p. 1
  5 (copyright registration certificates); Sony Interactive Entm’t, 2019 WL 13065920,
  6 at *3. In order for Defendant’s DMA cheat to operate in connection with Fortnite,
  7 that cheat software contains copied portions of Epic’s Fortnite software code.
  8 Compl. ¶ 46. Every time Defendant used the DMA cheat, a copy of the cheat
  9 software code—which includes the copied portions of the Fortnite code—is
 10 created. Id.; see MAI Sys. Corp. v. Peak Comput., Inc., 991 F.2d 511, at 518 (9th
 11 Cir. 1993) (“‘copying’ for purposes of copyright law occurs when a computer
 12 program is transferred from a permanent storage device to a computer’s RAM”).
 13 Accordingly, by using the cheat software, Defendant copied Epic’s copyright
 14 protected code and Default judgment should be entered against Defendant on Epic’s
 15 copyright infringement claim. Blizzard Entm’t, 2017 WL 7806600, at *4 (granting
 16 default judgment on copyright infringement claim where copying of video game
 17 code was required to create or maintain defendant’s hacking software).
 18                         d.     Fraud in the Inducement
 19            To state a claim for fraud in the inducement, a plaintiff must allege “(a) a
 20 misrepresentation (false representation, concealment, or nondisclosure); (b) scienter
 21 or knowledge of its falsity; (c) intent to induce reliance; (d) justifiable reliance; and
 22 (e) resulting damage.” Stephen Gould Corp. v. Osceola, No. 2:22-cv-08347-WLH-
 23 AGR, 2023 WL 8254483, at *4 (C.D. Cal. Oct. 13, 2023) (citing Parino v.
 24 BidRack, Inc., 838 F. Supp. 2d 900, 906 (N.D. Cal. 2011)). While fraud claims
 25 must be pled with particularity, “intent” and “knowledge” elements—which
 26 describe “conditions of a person’s mind”—are not subject to this heightened
 27 pleading standard and may instead be pled generally through circumstantial
 28 evidence, including allegations describing defendants’ conduct. Fed. R. Civ. P.
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  1 9(b); see also Hosp. Mktg. Concepts, LLC v. Six Continents Hotels, Inc., No. SACV
  2 15-01791, 2016 WL 9045621, at *6 (C.D. Cal. Jan. 28, 2016) (citing Manta v.
  3 Chertoff, 518 F.3d 1134, 1142 (9th Cir. 2008)).
  4            On June 6, 2024, Defendant was banned from Fortnite for cheating in
  5 Fortnite tournaments. Compl. ¶¶ 38, 58. Defendant then created new accounts
  6 after he was banned on June 21, June 25, and July 29, 2024, each time
  7 misrepresenting and concealing his identity by providing false and misleading
  8 personal information. Id. ¶ 59. Defendant also misrepresented his intent to comply
  9 with the Fortnite EULA and Tournament Agreements that prohibited cheating in
 10 Fortnite and Fortnite tournaments each time he accepted those agreements. Id.
 11 ¶¶ 60–62 (specifying the dates on which Defendant agreed to those contracts).
 12 Defendant knew the identifying information he provided in connection with the
 13 accounts was false and also knew that he had no intention of complying with the
 14 contracts to which he had agreed, as evidenced by the fact that he used the newly
 15 created accounts to continue to cheat in Fortnite tournaments in violation of those
 16 agreements. Id. ¶¶ 39, 47–48, 59–61. Defendant intended to induce Epic’s reliance
 17 on his misrepresentations because he was aware that if he provided accurate
 18 identifying information, Epic would not have permitted him to create new accounts
 19 and access Fortnite. Id. ¶ 64.
 20            Epic relied on Defendant’s misrepresentations to unknowingly grant
 21 Defendant access to Fortnite, and its reliance was justified because Defendant took
 22 steps to conceal his identity. Id.¶ 63. Had Epic known that Defendant was creating
 23 these accounts, Epic would not have permitted Defendant to do so and would not
 24 have granted Defendant access to Fortnite. Id. Epic was subsequently harmed
 25 when Defendant accessed and cheated in Fortnite tournaments. Id. ¶¶ 65–71. Epic
 26 has thus stated a claim for fraud in the inducement. See, e.g., Parino, 838 F. Supp.
 27 2d at 906; Ticketmaster L.L.C. v. Prestige Entm’t, Inc., 306 F. Supp. 3d 1164,
 28 1178–79 (C.D. Cal. 2018) (denying motion to dismiss fraud in the inducement
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  1 claim based on defendants’ representation that they would comply with plaintiff’s
  2 Terms of Use, given that defendants went on to breach the Terms of Use).
  3                  3.     The Remaining Eitel Factors Strongly Favor Default
                            Judgment
  4
               Each of the remaining Eitel factors weigh in Epic’s favor.
  5
               “The fourth Eitel factor examines the amount of money at stake in relation to
  6
      the seriousness of defendant’s conduct,” and supports default judgment where the
  7
      relief sought by the plaintiff is consistent with the allegations in the complaint and
  8
      the claims asserted. E.I. Du Pont de Nemours and Co., 2013 WL 4033630, at *5
  9
      (quoting Craigslist, Inc. v. Naturemarket, Inc., 694 F. Supp. 2d 1039, 1060 (N.D.
 10
      Cal. 2010)). That is the case here, where Defendant defrauded Epic and
 11
      undermined the integrity of Fortnite tournaments, and then failed to participate in
 12
      this litigation after being sued. So Epic seeks recovery of statutory damages and
 13
      injunctive relief authorized by applicable statute.
 14
               The fifth Eitel factor considers whether there is likely a dispute concerning
 15
      material facts, and a dispute is unlikely where the plaintiff has filed a well-pleaded
 16
      complaint and the defendant makes no effort to respond. E.I. Du Pont de Nemours
 17
      and Co., 2013 WL 4033630, at *5; Blizzard Entm’t, 2017 WL 7806600, at *7.
 18
      Epic’s complaint is well-pled, and Defendant has failed to respond, despite Epic’s
 19
      best efforts. See supra Section III.B.2.
 20
               The sixth Eitel factor—possibility of excusable neglect resulting in
 21
      defendant’s default—is highly unlikely here where Defendant has actual notice of
 22
      the lawsuit, having been properly served with the summons and complaint and
 23
      retained counsel to acknowledge and accept service, but has failed to respond to the
 24
      complaint. Doc. No. 14 (Defendant’s Notice and Acknowledgement of Service);
 25
      Craigslist, 694 F. Supp. 2d at 1061 (“Plaintiff has proffered evidence showing
 26
      Defendants were clearly aware of the pending litigation.”).
 27
               As to the final Eitel factor, “[n]otwithstanding the strong policy presumption
 28
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  1 in favor of a decision on the merits, where a defendant fails to appear and respond
  2 as occurred here, a decision on the merits is impossible and default judgment is
  3 appropriate.” E.I. Du Pont de Nemours and Co., 2013 WL 4033630, at *6; Sony
  4 Interactive Entm’t, 2019 WL 13065920, at *6.
  5            Accordingly, each of the seven Eitel factors weigh in favor of default
  6 judgment against Defendant.
  7            C.    Epic Is Entitled to Monetary Recovery
  8            Having established that Defendant is liable on each of Epic’s claims, Epic
  9 must now prove damages. While Epic’s allegations in the complaint as to liability
 10 are accepted as true, Epic must “prove up” the amount of damages. Sony
 11 Interactive Entm’t, 2019 WL 13065920, at *6 (quoting Aifang v. Velocity VIII L.P.,
 12 No. CV 14-07060 SJO (MRWx), 2016 WL 4520641, at *7 (C.D. Cal. Sept. 26,
 13 2016)).
 14            Here, Epic elects to recover statutory damages for its DMCA and copyright
 15 infringement claims. 17 U.S.C. § 1203(c); 17 U.S.C. § 504(c). Statutory damages
 16 are especially appropriate in default judgment cases “since it is difficult to prove
 17 actual damages . . . due to defendant’s absence in the proceedings.” Microsoft
 18 Corp. v. BH Tech, Inc., No. 2:16-cv-2664-ODW-RAO, 2016 WL 8732074, at *6
 19 (C.D. Cal. Sept. 2, 2016); see also Warner Bros. Entm’t Inc. v. Caridi, 346 F. Supp.
 20 2d 1068, 1074 (C.D. Cal. 2004) (“Indeed, statutory damages are particularly
 21 appropriate in a case, such as this one in which the defendant has failed to mount
 22 any defense or to participate in discovery, thereby increasing the difficulty of
 23 ascertaining plaintiff’s actual damages.”). Under the DMCA, a plaintiff may
 24 recover statutory damages of “not less than $200 or more than $2,500 per act of
 25 circumvention . . . as the court considers just.” 17 U.S.C. § 1203(c)(3)(A). The
 26 Copyright Act provides that a plaintiff may ordinarily recover “a sum of not less
 27 than $750 or more than $30,000” per infringed work, and where the infringement is
 28 willful, up to $150,000 per infringed work. 17 U.S.C. § 504(c)(1)–(2).
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  1            Where, as here, the plaintiff has alleged that the defendant’s conduct was
  2 willful, the allegation “is deemed true due to defendant’s default.” Starbucks Corp.
  3 v. Heller, No. CV 14-01383 MMM (MRWx), 2015 WL 13919137, at *19 (C.D.
  4 Cal. May 28, 2015); Compl. ¶¶ 78, 99. Epic’s factual allegations similarly support
  5 a willfulness finding. Defendant knew that cheating was prohibited in Fortnite and
  6 by each of the Tournament Agreements. Compl. ¶ 37. He cheated anyway—
  7 repeatedly. Compl. ¶¶ 38–47. He cheated even though he was banned for cheating,
  8 used tools and fraud to circumvent Epic’s bans, and used software that infringes
  9 Epic’s copyrights to do so. Compl. ¶¶ 46–53. Thus, Epic is entitled to recover up
 10 to $2,500 per circumvention by Defendant and up to $150,000 for each copyright
 11 that Defendant willfully infringed.
 12            The court has wide discretion in determining the amount of statutory
 13 damages to award under both the DMCA and Copyright Act. VBConversions LLC
 14 v. Gulf Coast Ventures, Inc., No. CV 12-8265 JGB (ARGx), 2016 WL 11687660, at
 15 *7 (C.D. Cal. Aug. 10, 2016). Among other factors, the court may consider the
 16 deterrent effect of the award on defendant and on third parties, particularly where
 17 the defendant has profited from his infringement or circumvention. Starbucks
 18 Corp., 2015 WL 13919137, at *20; VBConversions, 2016 WL 11687660, at *8
 19 (“Because [defendant] profited from the circumventions, the award of statutory
 20 damages against it should operate to deter [defendant] from encouraging its
 21 employees to infringe copyrighted software.”).
 22            Although Epic detected Defendant’s use of a DMA device while playing
 23 Fortnite, it is impossible to know the true scope of Defendant’s cheating activities
 24 because the DMA device and cheat software are designed to avoid Epic’s anti-cheat
 25 technological protection measures. Brews Decl. ¶ 4. Defendant took measures to
 26 conceal his identity when playing Fortnite, including the creation of fake accounts
 27 using fraudulent identifying information and the use of hardware ID spoofers to
 28 disguise his device from Epic’s hardware ID bans. Compl. ¶¶ 47–48, 58–61, 76.
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  1 Thus, the true scope of Defendant’s circumvention—and the total amount of
  2 tournament winnings wrongfully earned as a result—remains unknown to Epic.
  3 Brews Decl. ¶ 4. Defendant’s refusal to participate in these proceedings should not
  4 shield him from liability and damages for his unlawful actions, nor should it
  5 prejudice Epic’s ability to defend the integrity of its Fortnite tournaments for all of
  6 their participants.
  7            Epic’s investigation into Defendant’s Fortnite tournament activity before and
  8 after it detected him using DMA device and banning him for cheating in June 2024
  9 shows the scope of his cheating was substantial. Epic has analyzed accounts it was
 10 able to trace to Defendant. Before Defendant started using a DMA device, from
 11 September 6, 2022 through June 18, 2024—Defendant participated in
 12 1,033 Fortnite tournament matches, played almost exclusively on a console device
 13 (e.g., Xbox or Playstation), and was paid out tournament winnings 6 times, winning
 14 only a few hundred dollars. Brews Decl. ¶ 6. Around the time Epic detected
 15 Defendant using a DMA device, Defendant’s play style suddenly changed. Id.
 16 ¶¶ 7–8. He started playing primarily on a PC—DMA cheats are used on PCs and
 17 cannot be used on consoles. Id. ¶ 8. And Defendant began winning money. In less
 18 than four months, between June 19 and October 11, 2024, Defendant participated in
 19 at least 839 Fortnite tournament matches and earned tournament winnings at least
 20 36 times for a combined total of at least $6,850 in tournament winnings. Id.
 21 Additionally, during that same four-month period, Epic received 991 reports that
 22 Defendant was using cheat software from other Fortnite players that played against
 23 Defendant. Id. ¶ 9. Based on Epic’s analysis, Epic believes that Defendant used
 24 DMA cheat software in each of the 839 Fortnite tournament matches he
 25 participated in from June 19 through October 11, 2024, circumventing Epic’s anti-
 26 cheat measures to do so. Id. ¶ 10. The number is likely much higher, given
 27 Defendant’s use of fake accounts and hardware spoofers to disguise his identity. Id.
 28            Accordingly, Epic requests an award of the DMCA statutory minimum of
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  1 $200 for each of the 839 matches in which he likely used DMA cheat software for a
  2 total of $167,800 in DMCA statutory damages. Epic further requests $100,000 in
  3 statutory damages for Defendant’s willful infringement of Epic’s Fortnite
  4 copyright, for a total statutory award of $267,800. Epic’s request is well below the
  5 maximum statutory damages award of $2,247,500 that it could seek under the
  6 DMCA and the Copyright Act, and also within the statutory awards granted in other
  7 cases in the Ninth Circuit. Bungie, Inc. v. Bansal, No. 2:21-cv-01111-TL, 2023
  8 WL 3309496, at *7 (W.D. Wash. May 8, 2023) (awarding $2,000 per DMCA
  9 violation and $150,000 per copyrighted work infringed in video game cheat
 10 software case for willful violations); VBConversions, 2016 WL 11687660, at *8
 11 (awarding $1,200 per DMCA circumvention and $100,000 per copyright for willful
 12 infringement).
 13            D.    Epic Is Entitled to Recover its Attorneys’ Fees and Costs
 14            Both the DMCA and Copyright Act authorize the Court to award Epic its
 15 reasonable costs and attorneys’ fees. 17 U.S.C. §§ 505, 1203(b)(4). “The DMCA
 16 authorizes a court, in its discretion, to allow recovery of costs and to award
 17 reasonable attorney’s fees to the prevailing party.” Sony Comput. Entm’t Am., Inc.
 18 v. Divineo, Inc., 457 F. Supp. 2d 957, 967 (N.D. Cal. 2006). Courts routinely
 19 award attorneys’ fees in DMCA cases where, as here, defendant has defaulted and
 20 his conduct was willful. Craigslist, Inc. v. Naturemarket, Inc., 694 F. Supp. 2d
 21 1039, 1065 (N.D. Cal. 2010); Divineo, 457 F. Supp. 2d at 967. Under the
 22 Copyright Act, a court may “freely award fees” to the prevailing party as long as it
 23 “seek[s] to promote the Copyright Act’s objectives.” Historical Research v.
 24 Cabral, 80 F.3d 377, 378–79 (9th Cir. 1996) (citing Fogerty v. Fantasy, Inc., 510
 25 U.S. 517, 534 (1994)). Courts may consider several nonexclusive factors when
 26 determining whether to award fees, including “(1) the degree of success obtained;
 27 (2) frivolousness; (3) motivation; (4) objective unreasonableness (both in the
 28 factual and legal arguments in the case); and (5) the need in particular
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  1 circumstances to advance considerations of compensation and deterrence.” Bungie,
  2 Inc. v. Claudiu-Florentin, No. 2:21-cv-01114-TL, 2023 WL 3158585, at *5 (W.D.
  3 Wash. Apr. 27, 2023) (quoting Halicki Films, LLC v. Sanderson Sales & Mktg., 547
  4 F.3d 1213, 1230 (9th Cir. 2008)).
  5            Here, an award of fees is warranted where Defendant’s circumvention of
  6 Epic’s anti-cheat measures and infringement of Epic’s copyrights was repeated and
  7 willful. Compl. ¶¶ 47–52, 78, 99. As demonstrated above, Epic will prevail
  8 completely on all of its claims against Defendant. See supra Section III.B.2.
  9 Defendant’s failure to appear and defend this matter—despite multiple contacts
 10 with his counsel and claims that an answer and/or motion to set aside default was
 11 forthcoming—evidences his frivolousness and objectively unreasonable approach
 12 to this case. Defendant’s motivations for infringing Epic’s copyrights were purely
 13 self-interested and malicious, seeking to profit individually and unfairly against
 14 non-cheating Fortnite players, and infringing Epic’s copyrights to do so. And the
 15 interests of compensation and deterrence would both be served by an award of
 16 attorneys’ fees to deter future cheating conduct in Fortnite.
 17            Using the table found in Local Rule 55-32 along with the amount of statutory
 18 damages sought by Epic ($267,800), Epic seeks fees in the amount of $8,956.
 19            E.      Epic Is Entitled to a Permanent Injunction
 20            In addition to monetary relief, Epic is entitled to a permanent injunction to
 21 prevent Defendant from cheating in Fortnite in the future. Injunctive relief is an
 22 equitable remedy, and district courts therefore have broad discretion to impose such
 23 relief and craft the scope of an injunction to the particular facts of the case. See
 24 Apple, Inc. v. Psystar Corp., 673 F. Supp. 2d 943, 953 (N.D. Cal. 2009). The
 25 DMCA authorizes injunctive relief “to prevent or restrain a violation” of the
 26 DMCA, while the Copyright Act permits courts to issue “final injunctions on such
 27 terms as it may deem reasonable to prevent or restrain infringement of a copyright.”
 28
               2
                   Local Rule 55-3 provides for $5,600 plus 2% of the amount over $100,000.
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  1 17 U.S.C. §§ 502(a), 1203(b)(1). In deciding whether to issue a permanent
  2 injunction, courts consider whether: (1) plaintiff has suffered irreparable injury,
  3 (2) “remedies at law, such as monetary damages, are inadequate to compensate for
  4 that injury,” (3) in light of “the balance of hardships between plaintiff and
  5 defendant, a remedy in equity is warranted,” and (4) a permanent injunction is in
  6 the public’s interest. eBay, Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006).
  7            Each of these factors favor entry of a permanent injunction here. Epic has
  8 suffered, and will continue to suffer, irreparable injury to its goodwill and the
  9 Fortnite community, especially the competitive community that participates in
 10 Fortnite tournaments, if Defendant is not permanently enjoined from cheating in
 11 Fortnite. Brews Decl. ¶ 12. Epic received over 900 complaints centered on
 12 Defendant’s cheating from non-cheating players, and those complaints would only
 13 continue if Defendant’s cheating—and evasion of Epic’s anti-cheat measures while
 14 doing so—continued. Id. ¶ 9. There is no adequate remedy at law because
 15 monetary relief will not enable Epic to remedy the goodwill it has lost as a result of
 16 Defendant’s cheating. Further, because Defendant has not appeared in the case,
 17 there can be no assurances that Defendant will stop cheating absent injunctive
 18 relief. Bungie, 2023 WL 3309496, at *8. The balance of hardships also favors Epic
 19 because Defendant would only be prohibited from violating the DMCA and
 20 infringing Epic’s copyrights in the future. Polo Fashions, Inc. v. Dick Bruhn, Inc.,
 21 793 F.2d 1132, 1135–36 (9th Cir. 1986) (stating that “[i]f the defendants sincerely
 22 intend not to infringe, the injunction harms them little”); Wecosign, Inc. v. IFG
 23 Holdings, Inc., 845 F. Supp. 2d 1072, 1084 (C.D. Cal. 2012) (“the balance of
 24 hardships favors Plaintiff because without an injunction, Plaintiff will lose profits
 25 and goodwill, while an injunction will only proscribe Defendants’ infringing
 26 activities.”). Finally, “the public interest is served when copyright law protections
 27 are enforced.” Blizzard Entm’t, 2017 WL 7806600, at*9; see also Sony Interactive
 28 Entm’t, 2019 WL 13065920, at *7.
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  1            Accordingly, Epic asks the Court to enter the accompanying proposed
  2 permanent injunction to prevent any future DMCA violations or copyright
  3 infringements by Defendant.
  4                                    IV.    CONCLUSION
  5            For the foregoing reasons, Epic respectfully requests that the Court grant its
  6 motion for default judgment in its favor against Defendant and award the following
  7 remedies to Epic: (1) statutory damages of $167,800 pursuant to the DMCA;
  8 (2) statutory damages of $100,000 pursuant to the Copyright Act; (3) award of
  9 attorneys’ fees and costs in the amount of $8,950; and (4) enter a permanent
 10 injunction against Defendant in the form provided.
 11
 12 Dated: April 25, 2025                         PERKINS COIE LLP
 13
 14                                               By: /s/Katherine M. Dugdale
                                                      Katherine M. Dugdale, Bar No.
 15                                                   168014
 16                                                   Christian W. Marcelo, Bar No. 51193
                                                      Jacob P. Dini, Bar No. 54115
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